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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

IN RE:
                                                          CHAPTER 11 CASE
URBAN OAKS BUILDERS LLC, Debtor.
                                                          CASE NO. 18-34892 (S.D. Tex.)


SOUTHSTAR CAPITAL GROUP, I, LLC,
COTTINGTON ROAD TIC, LLC, and
DURBAN ROAD TIC, LLC,

       Plaintiffs,
vs.                                                CASE NO. 6:18-cv-1453-ORL-31-GIK

1662 MULTIFAMILY LLC, HINES 1662                   (Case No. 2018-CA-415-OC,
MULTIFAMILY, LLC, HINES                            Circuit Court of the Ninth Judicial
INVESTMENT MANAGEMENT                              Circuit, Osceola County, Florida)
HOLDINGS LIMITED PARTNERSHIP,
HIMH GP, LLC, HINES INTEREST
LIMITED PARTNERSHIP, JCH
INVESTMENTS, INC, and URBAN
OAKS BUILDERS LLC

      Defendants.
___________________________________/

                            MOTION TO TRANSFER VENUE

       Urban Oaks Builders LLC (“UOB” or “Debtor”), the debtor in a Chapter 11 case pending

in the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the

“UOB Bankruptcy” pending in the “Texas Bankruptcy Court”) and defendant in the above-

captioned adversary proceeding (the “Adversary Proceeding”), respectfully moves this Court for

entry of an order pursuant to 28 U.S.C. § 1412 or, in the alternative, 28 U.S.C. § 1404(a),

transferring the Adversary Proceeding from this Court to the Texas Bankruptcy Court.
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                                         I. INTRODUCTION

       1.      This Adversary Proceeding is one of two lawsuits related to allegedly defective

construction at an apartment project that UOB built as the general contractor and completed in

2016. In Southstar Capital Group I, LLC, et al., v. 1662 Multifamily LLC, et al., Case No. 2018-

CA-000415-OC in the Circuit Court of the Ninth Judicial Circuit in and for Osceola County,

Florida, Southstar Capital Group I, LLC, Cottington Road TIC, LLC, and Durban Road TIC,

LLC (collectively “Southstar”), brought negligence and statutory claims for violations of the

Florida Building Code against UOB based on allegedly defective construction by UOB.

Plaintiffs also brought fraud and breach of contract claims against UOB and other entities under

common ownership with UOB pertaining to Plaintiffs’ purchase of an apartment project.

(Compl. at 1-2). On August 31, 2018 UOB filed for bankruptcy in the Southern District of

Texas. Subsequently the Adversary Proceeding was removed to this Court, where it is currently

pending.

       2.      UOB sought Chapter 11 bankruptcy protection primarily because its commercial

general liability insurance carriers wrongfully refused to provide coverage for and defend and

indemnify UOB from, the claims asserted by Plaintiffs in the Adversary Proceeding. Before

filing for Chapter 11 protection, UOB had filed a declaratory judgment action against its

insurance carriers styled Hines Interests Limited Partnership, et al., v. Southstar Capital Group

I, LLC, et al., Case No. 2018-CA-01845, in the Circuit Court of the Ninth Judicial Circuit in and

for Osceola County, Florida (the “Coverage Lawsuit”) seeking a declaratory judgment requiring

UOBs insurance carriers to provide coverage for and defend and indemnify UOB from Plaintiffs’

claims in the Adversary Proceeding. (Coverage Compl.1 at 1.) On July 17, 2018 the Coverage

Lawsuit was removed by one of UOB’s insurance carriers to the United States District Court for

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       The complaint from the coverage lawsuit is cited as “Coverage Compl.”


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the Middle District of Florida, Orlando Division, in an action styled Hines Interests Limited

Partnership, et al., v. Southstar Capital Group I, LLC, et al., Case No. 6:18-CV-1147-ORL-

22DCI.        Concurrently with the filing of this motion, UOB is filing a motion to transfer the

Coverage Lawsuit to the Texas Bankruptcy Court.

         3.       As a Chapter 11 debtor in the Texas Bankruptcy Court, claims against UOB are

automatically stayed under 11 U.S.C. § 362(a), and those claims must be resolved in the Texas

Bankruptcy Court.        The expected litigation costs and alleged liabilities in the Adversary

Proceeding and the Coverage Lawsuit, both as to the Plaintiffs and to Other Defendants which

UOB may be obligated to indemnify or who maybe be obligated to indemnify UOB, could

substantially exceed the claims of UOB’s other creditors. Transfer to the Texas Bankruptcy

Court is necessary to serve the interest of efficient administration of the estate and equal

treatment of all creditors.

         4.       Further, UOB and the Other Defendants in the Adversary Proceeding have strong

ties to the state of Texas, and particularly the city of Houston. UOB has its principal place of

business in Houston, Texas. (Compl. ¶ 7.) All of the Other Defendants in the Adversary

Proceeding have their principal place of business in Houston, and many are Texas entities.

(Id ¶¶ 7-14.) In addition, Southstar Capital Group I, LLC, the lead plaintiff in the Adversary

Proceeding, owns, manages, or operates multiple apartment complexes in and around Houston.

And, most importantly, UOB’s Chapter 11 bankruptcy is pending in Houston.

         5.       Houston is the most efficient venue for all parties concerned because of its close

connection to the parties and circumstances of these cases. As discussed further below, UOB

requests the Adversary Proceeding to be transferred to the Texas Bankruptcy Court.




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                                       II. BACKGROUND

       6.      The UOB Bankruptcy emerges from defective construction claims against UOB

and Other Defendants made by the Plaintiffs relating to an apartment project with respect to

which UOB served as the general contractor and constructor. The parties and their relationship

to these claims are explained below.

       7.      Debtor Urban Oaks Builders LLC is a Delaware limited liability company, with

its principal place of business in Houston, Texas. (Compl. ¶ 8.)

       8.      Upon information and belief, and at all times material hereto, Plaintiff Southstar

Capital Group, I, LLC is a Florida limited liability company. (Compl. ¶ 15.) Southstar Capital

Group I, LLC, owns, operates and manages apartment complexes across Texas and Florida.

According to Southstar’s website, four of its apartment complexes of a total of six or more

complexes are located in Houston and the Greater Houston Area.

       9.      Upon information and belief, and at all times material hereto, Plaintiff Cottington

Road TIC, LLC is a Delaware limited liability company. (Compl. ¶ 5.)

       10.     Upon information and belief, and at all times material hereto, Plaintiff Durban

Road TIC, LLC is a Delaware limited liability company. (Compl. ¶ 6.)

       11.     Defendant Hines Interests Limited Partnership is a Texas limited partnership.

Defendant 1662 Multifamily LLC is a Delaware limited liability company. (Compl. ¶ 14.)

Defendant Hines 1662 Multifamily, LLC is a Delaware limited liability company. (Compl. ¶ 8.)

Defendant Hines Investment Management Holdings Limited Partnership is a Texas limited

partnership. (Compl. ¶ 10.) Defendant HIMH GP, LLC is a Delaware limited liability company.

(Compl. ¶ 11.) Defendant Hines Real Estate Holdings Limited Partnership is a Texas limited

partnership.   (Compl. ¶ 12.)      Defendant JCH Investments, Inc. is a Texas corporation

(collectively the “Other Defendants”). (Compl. ¶ 13.)


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       12.     In July of 2014, UOB contracted with 1662 Multifamily, one of the Other

Defendants, to construct a 306-unit apartment complex located at 1662 Celebration Blvd.,

Celebration, Florida 34747. This project was known as “Aviva at Celebration,” and is now

known as “Sola at Celebration” (the “Celebration Apartments”).

       13.     The Celebration Apartments consist of six identical four-story residential

apartment buildings and a club house.       1662 Multifamily was the original owner of the

Celebration Apartments, and UOB was retained by 1662 Multifamily to be the general contractor

and constructor for the project. UOB began construction of the Celebration Apartments in July

2014 and completed them in March 2016.

       14.     On July 1, 2016, 1662 Multifamily sold the Celebration Apartments to Plaintiffs

through an Agreement of Sale and Purchase between 1662 Multifamily, LLC and Southstar

Capital Group I, LLC dated July 1, 2016. (Compl. ¶ 15.)          UOB was not a party to this

transaction. (See Compl. Ex. 1, Agreement at 1.) The sale was an on an as is, where is basis.

No warranty was given by UOB to Southstar in connection with the sale, and UOB’s

construction contract with 1662 Multifamily was not assigned to Plaintiffs by 1662 Multifamily.

(See generally id.)

       15.     In February 2017, Southstar Management I, LLC (“Southstar Management,” an

affiliate of Plaintiffs and a non-party to this action) notified UOB that some of the cantilevered

corner balconies at the Celebration Apartments were deflecting downward.             UOB made

sustained efforts to stabilize and repair the corner balconies in May 2017. During the fall and

winter of 2017-2018, UOB continued with the work to stabilize and repair the cantilevered

corner balconies, and the parties attempted to negotiate a resolution of the issues at the

Celebration Apartments.




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       16.      These efforts at a negotiated resolution failed and in February 2018, Plaintiffs

brought various claims against UOB and the Other Defendants connected to the purchase of the

Project.     (See generally Compl.)       These claims—the Adversary Proceeding referenced

throughout this motion—were originally brought in the Circuit Court of the Ninth Judicial

Circuit in and for Osceola County, Florida and the Adversary Proceeding was removed to this

Court after UOB’s bankruptcy filing.

       17.      Plaintiffs’ alleged alter ego liability of UOB and the Other Defendants and

asserted claims against all of them for: (a) defective construction based on negligence and

claimed violations of the Florida Building Code, and (b) fraudulent non-disclosure/fraudulent

inducement. (See Compl. ¶¶ 26, 38-73.)

       18.      UOB answered the Complaint on April 18, 2018. UOB and the Other Defendants

also filed separate Motions to Dismiss with the state court. The Motions to Dismiss are currently

pending in state court as of the filing of this Notice of Removal. Prior to the removal of this

action, UOB filed two motions to extend its time to respond to Plaintiffs’ discovery requests, and

the Other Defendants filed a motion to stay discovery pending a ruling on their motion to

dismiss.

       19.      As part of their claims underlying the Adversary Proceeding, Plaintiffs have

alleged that the cost to repair the allegedly defective work and resulting damages (including lost

rent allegedly caused by a need to vacate the apartments resulting from the defective work) total

to over $45,000,000. Id. These potential liabilities increase further with each passing month, at

a rate of $451,000, based on Plaintiffs’ claim for lost rent alone.

       20.      These liabilities are magnified by the conduct of UOB’s commercial general

liability insurance carriers, which gave rise first to the Coverage Lawsuit and ultimately to




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UOB’s Chapter 11 filing.        UOB and the Other Defendants hold various general liability

insurance contracts covering the project with Gemini Insurance Company (“Gemini”), Ironshore

Specialty Insurance Company (“Ironshore”), Navigators Specialty Insurance Company

(“Navigators”), and Great American Assurance Company (“Great American”) (collectively the

“Insurance Carriers”). (See Exhibit A, Coverage Compl. ¶¶ 28-30). These insurance contracts

were issued under a controlled insurance plan (“CIP”) which provided commercial general

liability insurance for UOB and subcontractors for their work on the Project. Id.

       21.     The CIP acted as a single policy that covered the entirety of the Project and

obligates the Insurance Carriers to cover UOB and the Other Defendants for liability and

property damage, including as alleged in the State Court Action. Id. In total, the policies issued

by the Insurance Carriers cover a significant portion of Plaintiffs’ alleged damages in the State

Court Action. (Id. ¶¶ 34-41).

       22.     To date, Gemini, Ironshore, and Navigators (the Insurance Carrier Defendants”)

have refused to provide coverage for and defend and indemnify UOB or the Other Defendants

from the claims asserted by Plaintiffs in the Adversary Proceeding. (Id. ¶¶ 48-52). As a result,

UOB and the Other Defendants filed the Coverage Lawsuit against the Insurance Carrier

Defendants in the Circuit Court of the Ninth Judicial Circuit in and for Osceola County, Florida,

styled Hines Interests Limited Partnership, et al., v. Southstar Capital Group I, LLC, et al., Case

No. 2018-CA-01845 seeking a declaratory judgment requiring them to honor their obligation to

provide coverage for and defend and indemnify UOB in the State Court Action. (See generally,

Ex. A, Coverage Compl.) On July 17, 2018 the Coverage Lawsuit was removed by Gemini to

the United States District Court for the Middle District of Florida, Orlando Division, in an action

styled Hines Interests Limited Partnership, et al., v. Southstar Capital Group I, LLC, et al., Case




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No. 6:18-CV-1147-ORL-22DCI. Additionally, on June 7, 2018, UOB filed a complaint against

Ironshore with the Texas Department of Insurance for Ironshore’s failure to honor its obligations

to UOB. (Ex. B, TDI Complaint.)

       23.     Because of the significant costs of the above listed liabilities—combined with the

uncertainty caused by the Insurance Carrier Defendants’ unwillingness to commit to defend and

indemnify UOB—UOB filed a voluntary petition for Chapter 11 bankruptcy relief on August 31,

2018 in the United States Bankruptcy Court for the Southern District of Texas, Case No. 18-

34892. This case was assigned to the Honorable Marvin Isgur.

       24.     On September 6, 2018, UOB removed the Adversary Proceeding from the Circuit

Court of the Ninth Judicial District in and for Osceola County, Florida, to this Court.

                                      III. JURISDICTION

       25.     Federal district courts’ jurisdiction under 28 U.S.C. § 1334 extends to those

proceedings arising under title 11, those ‘arising in’ a case under title 11, and those ‘related to’ a

case under title 11. 28 U.S.C. § 1334(b). The first two categories, “arising under” and “arising

in,” are both “core” bankruptcy proceedings. “Core proceedings are proceedings which have no

existence outside of bankruptcy.” In re Wesche, 178 B.R. 542, 543 (Bankr. M.D. Fla. 1995)

citing In re Gardner, 913 F.2d 1515 (10th Cir. 1990). Here, Plaintiffs’ claims against UOB in

the Adversary Proceeding are claims against the Debtor and the Debtor’s property and are thus

core proceedings.

       26.     The claims against the Other Defendants come within the Court’s “related to”

jurisdiction, which attaches to claims that have a “conceivable effect” on the bankruptcy estate.

Such proceedings “do not depend on the bankruptcy laws for their existence and could proceed

in another court.” Id.; In re Woods, 825 F.2d 90 (5th Cir. 1987). Rather, they are “related to”

the bankruptcy case, see 28 U.S.C. § 1334(b), a designation which applies to “any proceeding


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that would have any effect at all on the outcome of the bankruptcy proceeding.” In re Auto

Dealer Services, Inc., 96 B.R. 360, 362 (Bankr. M.D. Fla.1989) (emphasis added); see also In re

Walker, 51 F.3d 562, 569 (5th Cir. 1995) (“[A] proceeding is related to a bankruptcy if the

outcome of that proceeding could conceivably have any effect on the estate being administered in

bankruptcy.”) (emphasis added).

       27.     The “jurisdictional grant” of “related to” proceedings is “extremely broad.” In re

Toledo, 170 F.3d 1340, 1345 (11th Cir. 1999). If the outcome of a proceeding could conceivably

impact the bankruptcy estate, that proceeding is related to the bankruptcy. The bankruptcy court

for the Middle District has recognized the extreme breadth of this test, noting that “[a]

conceivable effect includes the alteration of the debtor’s rights, liabilities, options, or freedom of

action, as well as any impact on the handling or administration of the debtor’s estate.” In re

Rolsafe Intern., LLC, 477 B.R. 884, 895 (Bankr. M.D. Fla. 2012.) (emphasis added).

       28.     The claims against the Other Defendants fall within the Court’s “related to”

jurisdiction. The apportioning of additional liability to a non-UOB defendant might increase

what part of the bankruptcy estate (if any) that Plaintiffs are entitled to; conversely, if UOB is

found less liable than another defendant, this might increase the resources available for non-

Plaintiff creditors. Further, the bankruptcy estate is mostly comprised of the insurance contracts

which are part of the CIP that purports to cover the Other Defendants in addition to UOB. The

resolution of claims against any the Other Defendants covered by the CIP insurance policies

would clearly impact the bankruptcy estate. The intertwining of liabilities and the underlying

factual circumstances between the claims against UOB and the other entities create a multitude

of “conceivable” ways the resolution of these claims could impact the Debtor’s estate.




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         29.   The Adversary Proceeding claims are all related to the UOB bankruptcy, and the

claims specific to UOB are core. These claims should be all transferred to the Texas Bankruptcy

Court.

                           IV. ARGUMENT AND AUTHORITIES

         30.   Transfer is appropriate under both 28 U.S.C. § 1412 and 28 U.S.C. § 1404(a).

The claims asserted by the Plaintiffs against UOB are claims related to the UOB Bankruptcy.

While these claims are stayed, allowing the Adversary Proceeding to proceed against the

remaining Other Defendants would negatively impact UOB and its estate. Both for the efficient

administration of the estate and the convenience to the parties, it is imperative that the Texas

Bankruptcy Court control all litigation for the benefit of UOB and its various creditors.

         31.   Efficiency dictates that all claims against all Defendants in the above cases be

transferred to the Texas Bankruptcy Court. As established above, the claims asserted by the

Plaintiffs against the Other Defendants are “related to” the UOB bankruptcy because their

“outcome . . . could conceivably have an[] effect on the estate being administered in

bankruptcy.” Matter of Wood, 825 F.2d 90,93 (5th Cir. 1987) (emphasis in original); see also

supra Section III. While courts are split over which transfer statute—§ 1412 or § 1404(a)—

governs the transfer of such “related to” actions, in essence the same factors are considered in

analyzing transfers under both statutes. See McLeroy v. State of Florida Dept. of Juvenile

Justice, 4:06-CV-122-SPM, 2006 WL 1234907, at *1 (Bankr. N.D. Fla. Apr. 5, 2006) (applying

§ 1404 to transfer a case to the Bankruptcy Court of the Northern District of Florida’s Panama

City Division); see also, In re Penn-Mont Benefit Services, Inc., 3:13-BK-05986-JAF, 2013 WL

6405046, at *2 (Bankr. M.D. Fla. Dec. 6, 2013) (applying § 1412 to transfer cases to the

Philadelphia Division of the United States Bankruptcy Court for the Eastern District of

Pennsylvania); Campbell v. Williams, No. 1:14-CV-097, 2015 WL 3657627, at *2 (S.D. Tex.


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June 12, 2015) (“[C]ourts apply essentially the same factors in analyzing transfers under §§

1404(a) and 1412.”). Fundamentally, “choosing one transfer provision over the other generally

has no effect on the ultimate transfer decision.” Id. UOB therefore seeks transfer under both §

1412 and § 1404(a) and will accordingly address both.

              Transfer is Warranted Under 28 U.S.C. § 1412 In the Interests of Justice and
                                            Convenience

        32.       Section 1412 provides: “A district court may transfer a case or proceeding under

title 11 to a district court for another district, in the interest of justice or for the convenience of

the parties.” 28 U.S.C. § 1412. A transfer under this section is appropriate if it is either “in the

interest of justice” or “for the convenience of the parties.” In re Penn, 2013 WL 6405046, at

*10; see also Campbell, 2015 WL 3657627, at *3; In re Bruno’s, Inc., 227 B.R. 311, 324 (Bankr.

N.D. Ala. 1998). Here, transfer would be both in the interest of justice and for the convenience

of the parties.

        33.       “A bankruptcy court may exercise discretion in adjudicating a motion under

section 1412, considering both convenience and fairness on a case-by-case basis.”               Unico

Holdings, Inc. v. Nutramax Products, Inc., 264 B.R. 779, 783 (Bankr. S.D. Fla. 2001.) “The

‘interest of justice’ is a broad and flexible standard.” In re Penn, 2013 WL 6405046, at *10

(citing In re Blumeyer, 224 B.R. 218, 220 (Bankr. M.D. Fla. 1998) (internal citation omitted.)).

It requires a court to determine if “a change of venue would promote the efficient administration

of the bankruptcy estate, judicial economy, timeliness, and fairness.” Id. Similarly, convenience

dictates an examination of the burdens of transfer as to the plaintiffs, defendants, debtors and any

creditors. Id.

        34.       The “principal criteria” identified by courts in determining both convenience and

justice under § 1412 are:



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             the location of the plaintiff and defendant; . . . the ease of access to
             necessary proof; . . . the availability of subpoena power for the unwilling
             witness; . . . the expense related to obtaining willing witnesses; . . .the
             enforceability of any judgment rendered; . . . the ability to receive a fair
             trial; . . . the state's interest in having local controversies decided within its
             borders, by those familiar with its law; and, . . . the economics of the estate
             administration.

In re A.R.E. Mfg. Co., Inc., 124 B.R. 912, 914 (Bankr. M.D. Fla. 1991).

       35.       Further, courts have recognized a “presumption that venue is most proper in the

court in which debtor’s bankruptcy case is pending. . . .” Unico, 264 B.R. at 783; see also

Orthodontic Centers of Texas, Inc. v. Corwin, CIV.A.H-06-2595, 2007 WL 173220 at *1 (S.D.

Tex. Jan. 18, 2007) (“There is a strong presumption that proceedings ‘related to’ a bankruptcy

should be litigated in the judicial district where the bankruptcy itself is pending.”).

       36.       Taken together, justice and convenience overwhelmingly favor transfer to the

Southern District of Texas.

         i. Economics of Estate Administration

       37.       The critical factor in deciding to transfer under Section 1412 is the “economics of

the estate administration.” Numerous courts have recognized this as “the most important factor”

in the transfer decision-making process. Creekridge Capital, LLC v. Louisiana Hosp. Ctr., LLC,

410 B.R. 623, 630 (D. Minn. 2009) (collecting cases); Unico, 264 B.R. at 783 (“[I]t is important

for a court to determine which venue would promote the most efficient administration of the

bankruptcy estate.”). This factor is met whenever “transfer would promote the economic and

efficient administration of the bankruptcy estate.” Creekridge, 410 B.R. at 630.

       38.       Here, this factor weighs heavily in favor of transfer. UOB and all of the Other

Defendants are headquartered in Houston, and their witnesses will likely be based in Houston.

Further, UOB has had to retain Florida counsel as part of the underlying actions, further stressing

the bankruptcy estate. Transfer is proper here, because it would aid in the efficient and cost-


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effective resolution of the proceedings by allowing UOB to consolidate counsel, thereby

minimizing the impact on the bankruptcy estate. See Unico, 264 B.R. at 784 (noting the fact that

“parties would need to employ new counsel, forcing both parties to spend more time and money

on this litigation” as a consideration hindering efficient resolution of proceedings); see also

Orthodontic Centers, 2007 WL 173220, at *2 (S.D. Tex. Jan. 18, 2007) (transferring case to

district where the bankruptcy was pending to facilitate consolidation with similar cases).

       39.     Additionally, transfer reduces the risk of inconsistent judgment and unnecessary

depletion of the bankruptcy estate. Most of the Debtor’s estate manifests in UOB and the Other

Defendants’ insurance coverage policies. These insurance policies are the principal assets at

issue in the Adversary Proceeding, the UOB Bankruptcy and the Hines proceeding. Each of

these proceedings bring up different points of law, which different courts might analyze

differently. Even minor differences in the resolution of the claims as they relate to coverage or

indemnity could place significant strain on the bankruptcy estate. Put simply, it neuters the

protective function of bankruptcy to allow claims related to nearly the entire value the

bankruptcy estate to be determined by differing courts. The interests of justice and convenience

require transfer for this reason alone.

        ii. Presumption in Favor of the Court of Bankruptcy

       40.     The presumption in favor of the “court in which debtor’s bankruptcy case is

pending” also weighs strongly in favor of transfer. Unico, 264 B.R. at 783. Here, UOB’s

bankruptcy is pending before the Texas Bankruptcy Court. The “strong” presumption, see

Orthodontic Centers, 2007 WL 173220, at *2, dictates that the Adversary Proceeding and any

“proceedings ‘related to’ a bankruptcy should be litigated in the judicial district where the

bankruptcy itself is pending”—here, the Texas Bankruptcy Court.             While “under certain

circumstances a transfer to that venue may be inappropriate,” see, e.g., Unico, 264 B.R. 779 at


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783 (declining to transfer a litigation to Delaware which had “been pending for almost four

years” in the state of Florida and would be decided under Florida law, because the presumption

was overcome by efficiency and fairness concerns), these circumstances do not present

themselves here. Rather, transferring the Adversary Proceeding—including the claims against

the Other Defendants—would best serve the needs of efficiency and justice, and comport with

the presumption in favor of the venue of bankruptcy.

       iii. Location of Parties, Access to Proof, and Witnesses

       41.     The next factors—“the location of the plaintiff and defendant[s],” “the ease of

access to necessary proof” and the factors related to witnesses—all favor transfer. Transferring

the Adversary Proceeding to be decided with the UOB Bankruptcy would save money and

promote efficiency by consolidating the related claims. Because the Other Defendants and UOB

are all physically located in Houston together with their employees and officers, “ease of access

to necessary proof,” such as the Defendants’ witnesses or documents, would be improved by

transfer. The “expense[s]” related to the production of the necessary witnesses for this case—

employees of UOB or its co-defendants—would be lower in Houston; while the “ability to

subpoena unwilling witnesses” from Houston would be greater. Indeed, as the bankruptcy court

for the Middle District has recognized, § 1412’s witness related “factor[s] concern[] the

proximity of those witnesses necessary for administration of [the bankruptcy] estate.” Campbell,

242 B.R. at 747. Since the “necessary” witnesses related to the administration of UOB’s estate

are located in Houston, this factor weighs in favor of transfer.

       42.     Finally, as to the “location of the plaintiff and defendant[s],” UOB and the Other

Defendants are physically located and primarily operate out of the city of Houston. Similarly,

the Plaintiffs have substantial connections to the city of Houston. In particular, Southstar Capital

Group I, the lead named plaintiff in the Adversary Proceeding, owns and operates apartment


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complexes throughout the greater Houston area. In fact, of the five apartment complexes listed

on its website, four are from Houston, Katy, Pearland or the Woodlands, within the Greater

Houston Area; only one listed complex is in Florida.

       43.     Although Southstar is a Florida limited liability company, it has significant

connections to the state of Texas and the city of Houston. Even without this fact, however, the

needs of the debtor and the many co-defendants arguably outweigh the concerns of the Plaintiffs.

This is especially true as it relates to expenses which will impact the availability of resources for

other creditors. This factor likewise favors transfer.

        iv. Enforceability of Judgment and Fair Trial

       44.      The next factors, “the enforceability of any judgment rendered” and “the ability

to receive a fair trial” are both neutral here. There is no reason to believe Plaintiffs could not

receive a fair trial in the Southern District of Texas. Similarly, there is no reason to believe that

a judgment from the Southern District of Texas would be any more difficult to enforce than a

judgment from the Middle District of Florida. In fact, a judgment from the Southern District of

Texas would be easier to enforce because UOB’s assets are subject to the UOB Bankruptcy

pending in the Texas Bankruptcy Court.

        v. State Interests

       45.     The final factor is a state’s “interest in having local controversies decided within

its borders.” This factor asks a court to examine the competing interests of the states whose

citizens may be impacted by the resolution of a dispute. See In re Newport Creamery, Inc., 265

B.R. 614, 621 (Bankr. M.D. Fla. 2001) (examining the interests of Rhode Island, Connecticut,

and Massachusetts when deciding to transfer a proceeding from the Middle District of Florida to

a bankruptcy court in Rhode Island). Although it is a closer call than other factors, this also

favors transfer to the Texas Bankruptcy Court.


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       46.     Both Texas and Florida have arguments in favor of having the Adversary

Proceeding decided within their borders. The tort claims from the Adversary Proceeding emerge

from a Florida building project, involve Florida law, and one of the Plaintiffs is organized under

Florida law, all of which disfavor transfer.     On the other hand, Texas controls the UOB

Bankruptcy, creditors will be prejudiced by having to travel to Florida for a bankruptcy in Texas,

Plaintiffs, UOB, and the Other Defendants have clear and consistent ties to Houston, Texas, and

the risk of inconsistent or contradictory judgments as to the bankruptcy estate all favor transfer.

This is further supported by the fact that UOB has filed a complaint against Ironshore with the

Texas Department of Insurance, attached hereto as Exhibit B.

       47.     Although both states have valid interests in the resolution of the dispute, Texas’s

interests in having the Adversary Proceeding and its related suits decided within its borders

should carry the day on this issue—especially in light of their expected impact on the UOB

Bankruptcy. Instructive in this regard is Newport, a decision whereby the bankruptcy court for

the Middle District transferred a proceeding from the Middle District of Florida to a bankruptcy

court in Rhode Island. When analyzing this factor, this Court considered the contentions from

various states which were “very concerned about the impact th[e] case will have on the

[debtor’s] 3,000 employees, their families, and the communities in which they reside.” Id. The

bankruptcy court for the Middle District has recognized this “very legitimate interest” and “that

venue in Florida will impose an undue burden and expense upon these . . . creditors, ‘some of

whom will be forced to forego pursuit of their rights if they are forced to do so in Florida.’” Id.

(emphasis added).

       48.     Similarly, here, resolving the claims inextricably linked to the UOB Bankruptcy

outside of the Texas Bankruptcy Court would impose burden and expense on the parties,




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creditors, and potential creditors. While it is true that Florida has an interest in the resolution of

alleged torts impacting its citizens, the Plaintiffs operate and have deep connections in Houston

as well. See, supra, Section iii. And although some unfairness may be imposed on those

creditors outside of Texas, they would not be able to escape going through the UOB Bankruptcy

in Texas to successfully stake their claims. In short, it is both efficient—and in the interest of

justice—for the Adversary Proceeding to be decided by the Texas Bankruptcy Court.

       49.     For these reasons, the Section 1412 factors strongly support transfer to the

Southern District of Texas.

                       Transfer is Warranted Under 28 U.S.C. § 1404(a)

       50.     Section 1404(a) provides: “For the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” 28 U.S.C. § 1404(a). Courts analyzing these concerns have

considered factors which overlap almost entirely with the § 1412 factors discussed above. See,

e.g., McLeroy, 2006 WL 1234907, at *1 (noting that “28 U.S.C. § 1404(a) sets out three main

factors in determining a change of venue request: convenience of parties, convenience of

witnesses, and the interest of justice.”). The analysis of these factors does not meaningfully

differ from analysis under § 1412. Id. (finding that transfer to the Panama City bankruptcy court

was appropriate after considering factors such as the availability of witnesses, distances that

witnesses would have to travel and relative needs and burdens on parties).

       51.     Since “the same analysis” generally applies under § 1404(a) as under § 1412, the

court should also grant transfer under § 1404(a), for the reasons stated above in connection with

the § 1412 factors. Longhorn Partners Pipeline L.P. v. KM Liquids Terminals, L.L.C., 408 B.R.




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90, 98 n.3 (Bankr. S.D. Tex. 2009) (“[c]onsidering the nearly identical language in § 1404(a)

and § 1412, courts have generally applied the same analysis to both”).

                                      V. CONCLUSION

       52.    For the foregoing reasons, UOB respectfully requests that this Court transfer this

Adversary Proceeding to the United States Bankruptcy Court for the Southern District of Texas,

where the UOB Bankruptcy is pending and for such further and additional relief as this Court

may deem just and proper.


                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 10, 2018, a true and correct copy of
the foregoing document was filed electronically with the Court and served electronically upon
those parties registered to receive electronic notice via the Court’s CM/ECF system, and to all
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